Case 01-01139-AMC Doc113 Filed 04/18/01 Pageiof5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: 3 BANKoIip.

Chapter 11 DISTRIC] OF DE eee
W.R. GRACE & CO., et. al.
Case No. 00-01139

Debtors. Jointly Administered

Mme ee ee ee ee”

NOTICE OF APPEARANCE OF COUNSEL
AND DEMAND FOR ALL NOTICES AND PAPERS

Pursuant to Federal Rule of Bankruptcy Procedure 9010(b), Paul M. Baisier, of the firm
of SEYFARTH SHAW, whose office address and telephone number appear herein below, hereby
authorizes you to enter an appearance on his behalf as counsel for BPU REYNOLDS, INC., a
creditor and party in interest in the above-styled jointly administered chapter 11 bankruptcy
cases, and to do all that is necessary in connection therewith.

Pursuant to section 342 and 1109(b) of the Bankruptcy Code and Federal Rules of
Bankruptcy Procedure 2002, 3017 and 9007, BPU REYNOLDS, INC. requests that copies of all
notices and pleadings given or filed in these cases (including, without limitation, (i) notices under
Bankruptcy Rule 2002(1) that, but for this request, would be provided only to committees and the
United States Trustee and (ii) any plan or disclosure statement filed in these cases) be given to
and served upon the undersigned at the following address and telephone number:

Paul M. Baisier, Esq.
SEYFARTH SHAW

1545 Peachtree Street
Suite 700

Atlanta, Georgia 30309 f,
(404) 892-6812 /

W3
Case 01-01139-AMC Doc113 Filed 04/18/01 Page 2of5

Please take further notice that, pursuant to section 1109(b) of the Bankruptcy Code, the
foregoing demand include not only the notices and papers referred to in the Federal Rules of
Bankruptcy Procedure specified above, but also includes, without limitation, any notice,
application, complaint, demand, motion, petition, pleading or request, whether formal or
informal, written or oral, and whether transmitted by mail, delivery, telephone, telegraph, telex,
e-mail or otherwise filed or given with regard to the referenced cases and proceedings.

tb

This \)_ day of April, 2001.

Respectfully submitted,

Seyfarth Shaw

Wt A=

Pat M. Baisier
Georgia Bar No. 032825

1545 Peachtree Street, N.E.
Suite 700
Atlanta, Georgia 30309

(404) 892-6812
Counsel for BPU REYNOLDS, INC.

32021748.1/30790.000001 ie
Case 01-01139-AMC Doci113 Filed 04/18/01 Page 3of5

CERTIFICATE OF SERVICE

This is to certify that | have this day caused to be served all parties in this matter with the

foregoing NOTICE OF APPEARANCE OF COUNSEL AND DEMAND FOR ALL

NOTICES AND PAPERS by causing a true and correct copy of same to be deposited in the

United States Mail with sufficient postage affixed thereto, addressed as follows:

Laura Davis Jones, Esq.

David Carickoff, Esq.

Pachulski, Stang, Ziehl, Young & Jones
919 North Market Street, 16" Floor

P. O. Box 8705

Wilmington, DE 19899-8705

Hamid R. Raftjoo, Esq.

Pachulski, Stang, Ziehl, Young & Jones
10100 Santa Monica Boulevard

Los Angeles, CA 90067-4100

Steven M. Yoder, Esq.

The Bayard Firm

222 Delaware Avenue, Suite 900
F,O..Box 25130

Wilmington, DE 19899

Matthew G. Zaleski, III, Esq.
Ashby & Geddes

222 Delaware Avenue

P. O. Box 1150

Wilmington, DE 19899

James H.M. Sprayregen, Esq.
James Kapp, II, Esq.
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

32021748 ,1/30790,000001

Mark Kennedy, Esq.

Office of the United States Trustee
601 Walnut Street, Curtis Center
Suite 950 West

Philadelphia, PA 19106

Derrick Tay, Esq.

Meighen Demers

Suite 1100, Box 11,

Merrill Lynch Canada Tower

Sun Life Center, 200 Kint Street West
Toronto, Ontario M5H 3T4
CANADA

David B. Siegel
W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

D. J. Baker, Esq.

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square

New York, NY 10036

J. Douglas Bacon, Esq
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

Case 01-01139-AMC Doc 113

Nancy Woth Davis, Esq.

Ness, Motley, Loadhold, Richardson &
Poole

28 Bridgeside Boulevard

P.O. Box 1792

Mount Pleasant, SC 29465

Todd Meyer, Esq.
Kilpatrick Stockton
1100 Peachtree Street
Atlanta, GA 30309

The Chase Manhattan Bank
c/o Lawrence Palumbo

270 Park Avenue

New York, NY 10017

The Depository Trust Company
c/o Ming Shiang, VP

55 Water Street

New York, NY 10042

Robins Kaplan Miller Ciresi
c/o Roman Siberfeld

2059 Century Park Est #3700
Los Angeles, CA 90067

Huntsman Corporation
P. O. Box 65888
Charlotte, NC 28265

Zhagrus Environmental, Inc.
c/o Susan Rice

46 West Broadway, Suite 130
Salt Lake City, UT 84101

DCP-Lohja Inc.

c/o William McBain

P. O. Box 2501

Carol Stream, IL 60132-2501

32021748,1/30790.000001 4

Filed 04/18/01 Page 4of5

PCS Nitrogen Fertilizer, L.P.
c/o John Hill

P. O. Box 71029

Chicago, IL 60694-1029

Dupont Dow Elastomers
c/o Rick Thomas

21088 Network Place
Chicago, IL 60673-1210

Cass Logistics Temporary
c/o Ann-Margaret Bushnell
900 Chelmsford Street
Lowell, MA 08510

Union Carbide Corp.
c/o Mia Skinner

P. O. Box 91136
Chicago, IL 60693-0001

Southern Ionics, Inc.

c/o Milton Sunbeck, Jr.

P. O. Box 830800 Drawer 830
Birmingham, AL 35283-0800

BASF

c/o Diane Murdock
P. O. Box 75908
Charlotte, NC 28275

Risk Co.

c/o Lisa Clegg-Konen
P.O. Box 7061

Downers Grove, [IL 60515

Radian International
c/o Mary Harris

P. O. Box 844130
Dallas, TX 75284-4130

Stone Packaging System
c/o Jim Wagner

21514 Network Place
Chicago, IL 60673-1215
Case 01-01139-AMC Doci11i3 Filed 04/18/01 Page5of5

Valeron Strength Films

c/o Ron Luce

75 Remittance Dr., Suite 3068
Chicago, IL 60675

Ingersoll-Rand Fluid Products
c/o Eric Solverson

P. O. Box 751229

Charlotte, NC 28275-1229

Delta Chemicals
c/o John Besson
P. O. Box 73054
Baltimore, MD 21273-0054

Securities & Exchange Commission
15" & Pennsylvania Ave., N.W.
Washington, DC 20020

District Director
IRS

409 Silverside Road
Wilmington, DE 19809

. jot
This | ) day of April, 2001.

32021748.1/30790.000001

/)

Securities & Exchange Commission
Atlanta Regional Office
Branch/Reorganization

3475 Lenox Road, NE., Suite 100
Atlanta, GA 30326-1232

Secretary of Treasurer
P. O. Box 7040
Dover, DE 19903

Secretary of State
Division of Corporations
Franchise Tax

P. O. Box 7040

Dover, DE 19903

Paul M. Baisier
